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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

  ARTEMIO ALVAREZ BARRON, :                               CIVIL CASE NO. 6:21-CV-03741
  CARLOS ERNESTO PEREYRA
  VIDANA, MIGUEL MARTINEZ
  VILLALOBOS, JESUS LAMBERTO
  RAMIREZ LOPEZ, CARLOS
  ALFREDO RAMIREZ FERNANDEZ,
  DANIEL VALENZUELA CHAVEZ, and :
  others similarly situated,
           Plaintiffs

  versus                                                  JUDGE ROBERT SUMMERHAYS

  STERLING SUGARS SALES :                                 MAG. JUDGE DAVID J. AYO
  CORPORATION
           Defendant


                                              ORDER

           CONSIDERING non-party Ashley Foret Dees AND John Dees' Motion to Quash Trial

  Subpoenas,

           IT IS ORDERED that non-party Ashley Foret Dees AND John Dees' Motion to Quash

  Trial Subpoenas is GRANTED and that Plaintiffs' subpoenas to appear at the John M. Shaw United

  States Courthouse at 800 Lafayette Street, Lafayette, Louisiana and testify are quashed.


           Thus done and signed this      ldayof_EJ^                  2024.
